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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


In re: Nexium (Esomeprazole Magnesium)              MDL No. 2409
Antitrust Litigation
                                                    Civil Action No. 1:12-md-02409-WGY
This Document Relates to:

All Actions

              TEVA’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
                  MOTION IN LIMINE TO PRECLUDE DEFENDANTS FROM
                    INTRODUCING EVIDENCE OF EVENTS OCCURRING
                              ON OR AFTER MAY 27, 2014

       Defendants Teva Pharmaceuticals USA, Inc. and Teva Pharmaceutical Industries, Ltd.

(collectively “Teva”) respectfully submit this memorandum in opposition to Plaintiffs’ Motion In

Limine to Preclude Defendants from Introducing Events Occurring on or After May 27, 2014

(ECF No. 1071).

       Plaintiffs’ effort to preclude Teva from introducing such evidence is a transparent attempt

to prevent the jury from hearing clear and dispositive evidence directly relevant to a central

question in this case: would Teva have been able to launch a final FDA approved generic

version of Nexium had Teva’s patent litigation settlement with AstraZeneca not occurred and, if

so, when? To this date no generic manufacturer has been able to procure tentative FDA approval

for generic Nexium, let alone final approval, despite Teva’s (and Ranbaxy’s) May 2014 licensed

entry date having come and gone. This fact directly undermines Plaintiffs’ theory that Teva

could have launched a generic Nexium prior to May 2014 absent settlement, and evidence

relating to Teva’s continued inability to obtain FDA approval, including official correspondence

to and from the FDA, is admissible to demonstrate that Teva’s FDA approval efforts continue

without success. This evidence is also directly relevant to questions that Plaintiffs’ own experts



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have put at issue, including whether the FDA generally acts to grant approval at the time of a

licensed entry date and when FDA approval might have occurred but for Teva’s settlement with

AstraZeneca. In this case, of course, the FDA has not approved any generic as of the May 2014

licensed entry date and Teva’s FDA approval efforts have continued without resolution.

Defendants should be permitted to introduce documentary evidence in the form of official FDA

communications that contradicts the opinions of Plaintiffs’ expert witnesses on these issues. The

evidence sought to be excluded is highly and directly probative to causation — a material

element of Plaintiffs’ claims on which they bear the burden of proof at trial. Preclusion of this

evidence would be improper and invite error for this reason alone.

       Even beyond the substantial probative value of evidence demonstrating Teva’s continued

inability to obtain FDA approval, Plaintiffs’ purported rationales for exclusion can also be

soundly and quickly rejected on their own terms.

       First, Plaintiffs’ protestations that Teva has produced only post-May 2014 official

communications between Teva and the FDA but has not engaged in a wholesale post-close-of-

discovery search for Teva’s internal communications, and that Plaintiffs were surprised by

expert testimony on the status of Teva’s FDA approval, ring hollow as a problem of their own

making.     As an initial matter, Plaintiffs themselves requested the production of all

communications between Teva and the FDA concerning Teva’s ANDA file since the close of

discovery in this case. Teva acceded to that request and produced, on June 4, September 9, and

October 6, additional ongoing FDA correspondence regarding Teva’s ANDA.                Moreover,

Plaintiffs admit that Plaintiffs themselves refused to make a simultaneous supplemental

production after the close of discovery despite Teva’s contingent agreement that it would do so if

Plaintiffs reciprocated, and further admit that Plaintiffs did not move to compel Teva to produce



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any requested supplemental discovery.       Having elected to forego reciprocal supplemental

discovery and having failed to bring any motion to compel against Teva, Plaintiffs cannot now

complain that they are unfairly prejudiced because they lack information they declined to pursue.

Moreover, Plaintiffs’ argument that Teva has attempted to “backdoor” such evidence into the

case through its expert witness is absurd — Plaintiffs’ own experts Blume and Morrison have put

this evidence at issue by speculating, in supplemental reports served on September 15, 2014, that

the FDA would have granted approval on Ranbaxy’s and Teva’s licensed entry date in the but-

for world.   Mr. Johnston’s report merely responded to these arguments, in part by citing

documentary evidence of FDA communications that directly contradict Plaintiffs’ experts. There

are simply no procedural grounds on which Plaintiffs may properly complain that they are

“unfairly prejudiced” by Teva’s introduction of highly relevant evidence of FDA

communications in this case.

       Second, Plaintiffs’ “foundation” arguments merely go to the weight of the FDA approval

evidence, and do not impact its admissibility. Recent correspondence to and from the FDA

regarding the status of Teva’s ANDA has a direct evidentiary foundation and relevance to

primary issues in this case (just like the FDA’s correspondence with Teva before May 2014). To

the extent that Plaintiffs wish to argue that the evidence that the FDA still has not approved any

generic Nexium product does not necessarily mean that FDA approval would not have occurred

earlier in the absence of Teva’s patent litigation settlement agreement with AstraZeneca, they are

of course free do to so. But it does not follow that the FDA evidence is rendered inadmissible

merely because it makes Plaintiffs’ causation case harder to prove. To the contrary, because

Teva’s current inability to obtain even tentative FDA approval for its generic Nexium product is




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highly probative of a central element of Plaintiffs’ affirmative case, Teva must be permitted to

disclose it to the jury.

        Third, Plaintiffs’ Rule 403 argument confuses unfavorable evidence undermining a

central element in their case with the “unfair prejudice” contemplated by the Rule. There is no

doubt that the absence of tentative approval for any generic manufacturer is highly damaging to

Plaintiffs’ theory of liability and directly undermines a central element of their affirmative case

to be proved — the allegation that Defendants’ actions actually caused Plaintiffs’ injury. But

facts on the ground that directly contradict Plaintiffs’ theory of the case are fairly and properly

prejudicial to Plaintiffs’ case — the very definition of admissible evidence that should be

submitted to a jury. Moreover, as described above, the so called prejudice asserted by Plaintiffs

amounts to nothing more than hand wringing over Plaintiffs’ own decisions not to agree to

reciprocal supplementation and not to pursue available remedies to compel any requested

production. And in any event, even if there were unfair prejudice at issue here on that basis (and

there is absolutely none), any such prejudice would be greatly outweighed by the substantial

probative value of the evidence that Teva has not received FDA approval.

                                        CONCLUSION

        For the foregoing reasons, Plaintiffs’ Motion In Limine to Preclude Defendants from

Introducing Events Occurring on or After May 27, 2014 should be denied.



        Dated: October 19, 2014                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of October 2014, I filed and served the foregoing via
the Court’s CM/ECF system, which will serve notification of such filing by email to all counsel
of record.
                                                      /s/ Laurence A. Schoen
                                                      Laurence A. Schoen




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